                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF KENTUCKY
                                 ASHLAND DIVISION

MICHAEL KITCHEN,                                     )
                                                     )
                        Plaintiff,                   )
                                                     )
v.                                                   )
                                                     )   CIVIL ACTION NO.
MIDLAND FUNDING, LLC,                                )   0:14-cv-00105-HRW
                                                     )
                        Defendant.                   )
                                                     )

                                     NOTICE OF SETTLEMENT

          COME NOW plaintiff Michael Kitchen and defendant Midland Funding, LLC

(collectively, "the parties"), by and through their undersigned counsel, and hereby notify the

Court that a tentative settlement agreement has been reached between the parties. The parties are

presently drafting, finalizing, and executing the settlement and dismissal documents. The parties

request forty-five (45) days to finalize the settlement documents and to file a stipulation of

dismissal with the Court.

          Respectfully submitted this 3rd day of November, 2014.

                                                     /s/ James H. Lawson (with permission)
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